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12                              UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
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     S.G., by and through their guardian          Case No.: 3:25-cv-2254
15   SIRREON GOODSON, individually and on
     behalf of all others similarly situated,     Hon. Rita F. Lin
16                           Plaintiffs,
                                                  DEFENDANT EPIC GAMES,
17          v.                                    INC.’S OPPOSITION TO PLAINTIFF’S
                                                  ADMINISTRATIVE MOTION FOR LEAVE
18   EPIC GAMES, INC.                             TO FILE A SUR-REPLY
19                        Defendant.              Complaint Filed: March 5, 2025
20                                                Hearing Date: None
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                                                 OPP. TO ADMIN. MTN. TO FILE SUR-REPLY
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1           The Court should deny Plaintiff S.G.’s Administrative Motion for Leave to File a Sur-
2    Reply. Defendant Epic Games, Inc. did not present any new evidence in its Reply (Dkt. 28) in
3    support of its pending Motion to Compel Arbitration (Dkt. 23). The case S.G. cited in support of
4    his motion for leave, where the defendant submitted a new declaration and multiple exhibits with
5    its reply, therefore is inapposite. See Alkutkar v. Bumble Inc., No. 4:22-cv-422-PJH, Dkt. 42 (N.D.
6    Cal. June 22, 2022). It is actually S.G. who now wishes to introduce new evidence after the close
7    of regular briefing, but his father Sirreon Goodson’s (“Mr. Goodson’s”) new declaration (Dkt. 32-
8    4) contradicts the earlier declaration (Dkt. 26-1) he provided in support of S.G.’s Opposition to the
9    compulsion of arbitration. The Court, therefore, should not accept the sur-reply or this proposed
10   new evidence. If the Court accepts these documents, however, Epic Games respectfully requests
11   that the Court also consider the following information, which confirms why the Motion to Compel
12   Arbitration should be granted.
13          The premise of S.G.’s Complaint is that S.G., not Mr. Goodson, “purchased numerous items
14   from the Fortnite Item Shop from 2022 to 2024.” Dkt. 1 ¶ 25. S.G.’s Complaint was silent about
15   who created the account in which he played and how S.G. allegedly paid for the purchases he claims
16   he made. S.G.’s counsel likely anticipated that Epic Games would move to compel S.G. to arbitrate
17   his claims pursuant to the Fortnite End User License Agreement (“EULA”). In keeping with the
18   EULA’s dispute resolution requirements, S.G.’s counsel sent Epic Games a Notice of Dispute in
19   which S.G. purported to “disaffirm any agreements made.” Dkt. 23-2 Ex. A at 1. Epic Games also
20   received a post-Complaint letter from a different lawyer claiming to represent S.G. The letter
21   contended that S.G. personally accepted the updated EULA Epic Games published in December
22   2024 and that S.G. wished to exercise his 30-day right to opt out of the new EULA’s revised
23   arbitration requirement. See id. Ex. C. Both communications asserted that S.G. had accepted the
24   EULA himself, which—if true—means S.G.’s dispute must be compelled to arbitration. As Epic
25   Games demonstrated in its Motion and Reply, the arbitration agreement’s delegation provision—
26   Dkt. 23-1 Ex. A § 12.3.1—requires any disputes over the effectiveness of S.G.’s purported
27   disaffirmance or post-hoc opt-out from the arbitration requirement be decided by an arbitrator.
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1             In an attempt to avoid this result, S.G.’s Opposition to Epic Games’ motion sought to walk

2    back his counsel’s prior admissions that S.G. accepted the EULA. Mr. Goodson provided a

3    declaration in which he said he “set up” an Epic Games player account and “shared” it with S.G.

4    Dkt. 26-1 ¶ 3. Mr. Goodson did not dispute that he accepted the EULA or that the process Epic

5    Games used to record his assent is valid and binding. Accordingly, contract formation is not in

6    dispute. The EULA states that the person accepting it agreed to be “legally and financially

7    responsible for all actions using or accessing our software, including the actions of anyone you

8    allow to access your account,” and it expressly said parents should accept the agreement on behalf

9    of their minor children. Dkt. 23-1 Ex. A at pp. 1-2. At most, therefore, even assuming the truth of

10   Mr. Goodson’s declaration that he set up the Epic Games account in which S.G. played, S.G.’s

11   dispute concerns only the scope of his father’s agreement, or its enforceability against him. These

12   are matters the arbitrator must decide pursuant to the arbitration agreement’s delegation clause.

13            In their papers, Mr. Goodson and S.G. are walking a tightrope in an attempt to keep S.G.

14   out of arbitration while preserving S.G.’s ability to sue in his own name. S.G. likely lacks standing

15   to sue for purchases paid for by Mr. Goodson. Thus, Mr. Goodson’s original declaration asserted

16   that “S.G. made at least some of the purchases at issue . . . using his own money.” Id. ¶ 4. This

17   should not, however, help S.G. avoid arbitration. In both Epic Games’ opening brief (Dkt. 23 at 3)

18   and Reply (Dkt. 28 at 2), Epic Games demonstrated that anyone “enter[ing] a method of payment

19   to make a purchase from the Fortnite Item Shop” must confirm his or her acceptance of the EULA

20   when doing so. Dkt. 23-1 ¶ 11.1 Because the obvious implication of S.G.’s making purchases “using

21   his own money” was that S.G. personally accepted the EULA while paying—which Epic Games

22   pointed out in its Reply (Dkt. 28 at 1-2) —Mr. Goodson’s new declaration contradicted his earlier

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       The only reason a purchaser from the Fortnite Item Shop would not see the payment screen and
     its requirement to confirm acceptance of the EULA is if the purchaser was using a method of
25   payment previously stored in the account to facilitate future purchases. Neither the Complaint nor
     Mr. Goodson’s original declaration asserted that he stored a method of payment in the account he
26   shared with S.G. For that reason, Epic Games’ Reply assumed that the confirmation screen
     appeared at each purchase. See Dkt. 28 at 1. This was not a “new” argument, and as S.G.’s proposed
27   sur-reply admits, Epic Games’ Reply on this point referred to the same paragraph in the same
     supporting declaration (Dkt. 23-1 ¶ 11) submitted with its Motion.
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1    attestation. He now claims that “[e]ach time a method of payment was entered to enable purchases

2    related to this [shared] account, I entered that method of payment myself.” Dkt. 32-4 ¶ 3. 2 The new

3    declaration is at odds with both the Complaint’s assertion that S.G. “purchased numerous items

4    from the Fortnite Item Shop” himself (Dkt. 1 ¶ 25) and Mr. Goodson’s earlier declaration that S.G.

5    paid for “at least some” purchases “using his own money.” Dkt. 26-1 ¶ 4. It also calls into question

6    whether S.G. is the proper plaintiff in this case. If Mr. Goodson set up the account and facilitated

7    all purchases, he should have sued in his own name rather than his son’s.

8             Ultimately, however, the Court should compel S.G. to arbitrate the claims he has pleaded

9    “[e]ven if the Court disregards S.G.’s implicit admission that he accepted the EULA himself and

10   attributes all instances of EULA acceptance to Mr. Goodson.” Dkt. 28 at 1. This is so because (1)

11   contract formation is not at issue; S.G. raises only an enforceability or scope dispute over whether

12   his father’s acceptances of the EULA bind him as well; (2) each time Mr. Goodson accepted the

13   EULA in the shared account, he acted as his son’s apparent and actual agent; and (3) equitable

14   estoppel precludes S.G. from enjoying the benefits of the Fortnite EULA, playing Fortnite in the

15   account and using the items acquired in the Fortnite Item Shop, while avoiding the contract’s

16   dispute resolution terms. See Dkt. 23 at 10-11; Dkt. 28 at 3-10. S.G. did not contest any of these

17   arguments in his opposition brief and his proposed sur-reply does not address, them, either. S.G.

18   continues to dispute only the extent to which his father’s agreement(s) to the EULA bind him, but

19   he still ignores that the EULA his father accepted delegates any disputes over its validity,

20   enforceability, or scope to the arbitrator. See Dkt. 23-1 ¶ 14 & Ex. A § 12.3.1.

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       Mr. Goodson’s two contradictory declarations do not account for all acceptances of the EULA in
23   the account he shared with S.G. As the uncontested declaration Epic Games submitted with its
     opening brief demonstrated, a user of Mr. Goodson’s/S.G.’s account accepted new versions of the
24   EULA “on multiple occasions” before gameplay, “including on July 24, 2024.” Dkt. 23-1 ¶ 28.
     S.G.’s briefs and Mr. Goodson’s declaration have been silent as to which of them accepted the
25   EULA on each occasion. This discrepancy should be resolved by an arbitrator, as will occur in
     S.T.G. v. Epic Games, Inc., No. 2:24-cv-517-RSH. Docket entry 31 in that case, a Joint Status
26   Update filed on June 30, 2025, states that the “Arbitrator deemed it necessary to order additional
     discovery [from plaintiffs only] into the circumstances of Samuel Garcia’s, S.T.G.’s, S.J.G.’s, and
27   S.B.G.’s creation of Epic Games player accounts and the facts and circumstances underlying their
     assertions that S.T.G., S.J.G., and S.B.G. possess the right to disaffirm the EULA.”
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1             S.G.’s proposed sur-reply argues that his case is analogous to S.T.G. v. Epic Games, Inc.,

2    752 F. Supp. 3d 1200 (S.D. Cal. 2024), appeal pending sub nom. E.V.A. v. Epic Games, Inc., No.

3    24-6443 (9th Cir.). In S.T.G., a district court compelled six of seven minor plaintiffs to arbitrate

4    their claims arising from Fortnite gameplay but declined to compel arbitration as to the seventh

5    because the court believed that, under Washington State estoppel or agency law, it might be relevant

6    whether that minor continued to play in an account her mother created after the minor sued. See id.

7    at 1212. Epic Games believes the district court erred and has appealed the decision.

8             S.G. asserts his situation is analogous to that of the seventh plaintiff in S.T.G. It is not. As

9    shown in Epic Games’ opening brief and supporting declaration, S.G. has played Fortnite

10   “numerous” times after he filed his lawsuit. Dkt. 23-1 ¶ 34. Neither S.G. nor Mr. Goodson has

11   disputed that S.G. engaged in post-suit gameplay. To the extent post-suit gameplay is relevant to

12   Epic Games’ estoppel arguments under California law—which, as Epic Games is arguing on

13   appeal, it should not be—the disputed issue in S.T.G. about post-suit gameplay does not exist here. 3

14            The closer analog to this case is Sanchez v. Nintendo of America, No. 20 Civ. 6929 (N.D.

15   Cal. Mar. 13, 2021) (oral order reflected in transcript appearing at docket entry 46), cited in Dkt.

16   28 at 4. In Sanchez, parents set up a video game console, accepted an arbitration agreement during

17   the setup process, and then gifted the console to their children. After the console malfunctioned,

18   the children sought to pursue claims against the manufacturer, arguing that they were not subject

19   to the arbitration agreement their parents accepted. See id. at 10. The Sanchez court correctly held

20   that because the agreement delegated disputes over the arbitration requirement’s validity,

21   enforceability, and scope, an arbitrator must decide whether the asserted claim belonged to the

22   children or the parents and whether the children were subject to the arbitration agreement. See id.

23   at 23; see also Sanchez, 2022 WL 4099154, at *1 (N.D. Cal. Sept. 7, 2022) (noting “oral order”

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       Nevertheless, as Epic Games stated in its Reply in this case, “[i]f the Court believes that S.T.G. is
26   relevant to its decision in this case,” which it should not, “the Court should, at a minimum, stay this
     case and defer any ruling on this Motion [to compel arbitration] until the Ninth Circuit rules on [the
27   appeal].” Dkt. 28 at 4 n.2.

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1    compelling arbitration and stating the arbitration’s results). Here, as in Sanchez, an arbitrator should

2    decide whether the claims asserted here are Mr. Goodson’s or S.G.’s, and if they are S.G.’s, whether

3    S.G. agreed to the EULA himself or is bound by his father’s agreement to arbitrate.

4           Finally, S.G. also submitted with his motion for leave a new declaration from a law firm

5    investigator. The investigator describes purchases he made from “the Nintendo Switch eShop,”

6    which is irrelevant to this case. Dkt. 32-5 ¶ 2. S.G.’s Complaint concerns his purchases from “the

7    Fortnite Item Shop” (Dkt. 1 ¶ 16)—an online marketplace operated by Epic Games itself—not the

8    different marketplace operated by Nintendo. The screen shots the investigator provided of his

9    interactions with Nintendo’s marketplace do not reflect what a visitor to the Fortnite Item Shop

10   would have seen, as reflected in the declaration Epic Games submitted with its motion. The Court

11   therefore should deny S.G.’s request for leave to file this irrelevant declaration.

12                                              CONCLUSION

13          For the reasons stated herein and in Epic Games’ Motion to Compel Arbitration and Reply

14   in support of that motion, the Court should deny S.G.’s request for leave to file a sur-reply and,

15   upon ruling on the Motion, should compel S.G.’s claims to arbitration and stay the case or, in the

16   alternative, transfer any non-arbitrable claims to the United States District Court for the Eastern

17   District of North Carolina.

18   Date: July 1, 2025

19                                          Respectfully submitted,

20                                          FAEGRE DRINKER BIDDLE & REATH LLP

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